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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEBRASKA

   IN THE MATTER OF:                           )       BK Case No. 16-81553
                                               )           Chapter 13
                                                       )
   JOHNNY D. FRIDAY and                                )
   JACKLYN T. FRIDAY,                                  )
        Debtors.                               )

                        STIPULATED ORDER CONFIRMING PLAN

          This matter comes on for confirmation of the Debtors’ Chapter 13 plan (Fil. #3).

          The Court finds:

           (1)    There has been compliance with the provisions of 11 U.S.C. § 1301, et
   seq., fees required to be paid, have been paid, and the plan has been proposed in good
   faith and not by any means forbidden by law.

          (2)      The value of property to be distributed under the plan on account of each
   allowed unsecured claim is not less than the amount that would be paid on said claim if
   the debtor’s estate were liquidated under Chapter 7 on the effective date of the plan.

          (3)    With respect to each allowed secured claim provided for by the plan:

                 (A)            the holder of such claim has accepted the plan;

                 (B)     (i)    the plan provides that the holder of such claim retain the
                                lien securing such claim; and

                         (ii)   the value, as of the effective date of the plan, of property to
                                be distributed under the plan on account of such claim is
                                not less than the allowed amount of such claim; or

                 (C)            the debtor surrenders the property securing such claim to
                                such holder; and

          (4)    The plan is feasible.

          (5)    Attorney fees are allowed as stated in the Chapter 13 plan/amended plan.

          (6)    For cause shown, plan payments may exceed three years as provided in
                 the plan.
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          (7)     Creditor SAC Federal Credit Union shall be provided pre-confirmation
                  interest at the rate of 5.50%. Further, all post-confirmation payments to
                  Creditor SAC Federal Credit Union shall not be less than $230.00.

   IT IS HEREBY ORDERED, that the plan is confirmed.

   DATED: March 8, 2017



                                                BY THE COURT:

                                                s/ Thomas L. Saladino
                                                United States Bankruptcy Judge




   Prepared and submitted by Burke Smith, Attorney for the Debtor


   Approved as to form and content:      s/ Brandon R. Tomjack
                                         Brandon R. Tomjack
                                         Counsel to SAC Federal Credit Union


   Notice given to:
   *Burke Smith, Brandon Tomjack, Kathleen Laughlin & UST

   Movant (*) is responsible for giving notice of this journal entry to all other parties (that
   are not listed above) if required by rule or statute.
